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                               UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF ALABAMA
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DEBRA P. HACKETT, CLERK
                                                                        TELEPHONE (334) 954-3600


                                         October 2, 2009




                          NOTICE OF VOLUNTARY DISMISSAL


       Re:      Gerome Merritt v. Wells Fargo Bank, N.A.; et al
                Civil Action No. 2:09-cv-674-WHA


       Pursuant to the #11 Notice of Dismissal with Prejudice filed by the plaintiff
       on 10/2/2009 and Fed. R. Civ. P. 41(a)(1)(A)(ii), this case is
       dismissed with prejudice, without an order of the court and has been
       closed and removed from the docket of this court.
